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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

lN RE
HUBERT WIGGS : CHAPTER 7

CASE NO. 18-21473(JJT)
DEBTOR

AMENDMENT

COMES NOW the Debtor, HUBERT WIGGS, in the above-captioned
matter and amends his voluntary petition for a discharge in the
following particulars:

l. By amending Schedules A/B and C as is set forth on
the attached Schedules A/b and(jappended}lereto and incorporated
herein as if fully set forth.

I, HUBERT WIGGS, the petitioner named in the foregoing
Amendment, certify under penalty of perjury that the foregoing
is true and correct.

Dated: February 28, 2019

/s/Hubert Wiggs
HUBERT WIGGS

 

The foregoing has been represented to me by the Debtor
to be true and accurate.
/s/Anthony S. Novak
Anthony S. Novak
Attorney for Debtor
Federal Bar No. ct09074
Anthonysnovak@aol.com

 

NOVAK LAW OFFlCE, P.C.
280 Adams Slree[, Manches\er, CT 06042~‘|975

(360)432~771001LJR15 No.403859

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UNITED STATES BANKRUPTCY COURT
DlSTRlCT OF CONNECTICUT

lN RE
HUBERT WIGGS : CHAPTER 7

CASE NO. 18-21473(JJT)
DEBTOR

CERTIFICATION OF SERVICE

 

1 hereby certify that a copy of the foregoing Amendment was sent
via Notice of Electronic Filing to Bonnie Mangan, Chapter 7
Trustee, and to the Office of the U.S. Trustee, District of
Connecticut, and to all parties or counsel who are registered
filers, and via first class mail to all parties listed below
this 28th day of February, 2019.

 

 

U.S. TRUSTEE (electronic) TRUSTEE (electronic)
Office of the U. S. Trustee Bonnie Mangan

The Giaimo Federal Building 1050 Sullivan Avenue #3
150 Court Street, Room 302 South Windsor, CT 06074

New Haven, CT 06510

(first class mail)
Hubert Wiggs

51 Pleasant Valley Road
South Windsor, CT 06074

/s/Anthony S. Novak
Anthony S. Novak

 

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Fi|l in this information to identify your case and this filing:

Debtor 1 Hubert Wig_gs

First Name N|idd|e Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: D|STRICT OF CONNECT|CUT

 

Case number 18-21473 l checkifihisis an
amended filing

 

 

 

Officia| Form 106A/B
Schedu|e A/B: Property 12/15

 

 

|n each category, separately list and describe items. List an asset only once. lt an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Bui|ding, Land, or Other Real Estate You Own or Have an lnterest |n

 

14 Do you own or have any legal or equitable interest in any residence, building, |and, or similar property?

[l No. Go to Part 2.
- Yes. VVhere is the property?

 

 

 

 

 

1,1 What is the property? check all thai apply
51 P|ea$ant Va"ey Road l Singl€~family home Do not deduct secured claims or exemptions Put
Street address, if available, or other description ~ . ~ ~ the amount of any secured claims on Schedu/e D.'
D | lt -
l:l up ex cr mu l umt mmde Creditors Who Have Cla/'ms Secured by Property.
m Condominium or cooperative
l:] Manufactured or mobile home
_ Current value of the Current value of the
SOuth Wlnd$Or CT 06074-0000 |:| Land entire property? portion you own?
Ciiy S.iaie ZlP Code l:l investment property $265,000.00 $265,000.00
T' h
m |mes are Describe the nature of your ownership interest
m Other ______ (such as fee simp|e, tenancy by the entireties, or
Who has an interest in the property? Check one a me estate)’ 'f k"°W"~
- Debtorl only
Hal'thl‘d m Debtor 2 only
County
m Debtor 1 and Debtor 2 On|y Check if this is community property
|:] At least one of the debtors and another (see lnsfruc!ions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for
pages you have attached for Part 1. Write that number here ........................................................................... =>

wescribe Your Vehic|es

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. |f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

$265,000.00

 

 

 

Officia| Form lOGA/B Schedu|e A/B: Property page 1
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Debtor 1 Hubert Wigg$ Case number (/'fknown)

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Page 4 of 10
18-21473

\:l No

l Yes

3,1 Make; To ota - - Do not deduct secured claims or exemptions Put

___-_y Who has an mterest m the property? Check me the amount of any secured claims on Schedule D.l
l\/lodel: Camry l D@btor 1 On|y Creditors Who Have C/a/'ms Secured by Property.
Year: ____..__1993 m Debt°r 2 On|Y Current value of the Current value of the
Approximate mileage: 200000 l:] Debgor 1 and Debtor 2 On|y entire property? portion you own?
_ Other informationi L_.l At least one of the debtors and another

 

 

(see instructions)

 

l:] Check if this is community property $362'00 $362'00

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehiclesl other vehicles, and accessories
EXamp/es: Boats, trailers, motors, personal watercraft, fishing vesse|s, snowmobi|es, motorcycle accessories

l No
|:l Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here ............................................................................. =>

Describe Vour Persona| and Househo|d ltems

 

 

$362.00

 

 

 

Do you own or have any legal or equitable interest in any of the following items?

6. Househo|d goods and furnishings
EXamp/es: l\/lajor appliances, furniture, linens, china, kitchenware

l:\ No
l Yes. Describe .....

 

IVarious household goods and furnishings

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

$1,000.00

 

7. Electronics

Examp/es.' Te|evisions and radios; audio, video, stereo, and digital equipment; computers printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games

l:l No
- Yes. Describe .....

 

l older TV and radio l

$200.00

 

8. Co||ectibles of value

Examp/es:Antiques and figurines; paintings, prints, or other artwork; books, pictures, or otherart objects; stamp, coin, or baseball card collections;

other collectionsl memorabi|ia, collectibles
- No
l:l Yes. Describe .....

9. Equipment for sports and hobbies

Examp/es: Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
- No
m Yes. Describe .....

10. Firearms
Examp/es.' Pistols, rifles, shotguns, ammunition, and related equipment

-No

Official Form 106A/B Schedule A/B: Property
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page 2
Best Case Bankruptcy

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D@berl Hubert Wiggs Case number(ifknown) 13-21473

l:l Yes. Describe .....

11. Clothes
Examp/es.' Everyday ciothes, furs, leather coats, designer wear, shoes, accessories

|:l No
- Yes. Describe .....

 

lVarious clothing and personal possessions $250-00

 

12, Jewe|ry
Examp/es: Everydayjewe|ry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems, goid, silver

m No
- Yes. Describe .....

 

iWedding ring and ring $50.00

 

 

13. Non-farm animals
Examp/es: Dogs, cats, birds, horses

- No
El Yes. Describe .....

l4r Any other personal and household items you did not already list, including any health aids you did not list
- No

ij Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .............................................................................. $1'500'00

 

 

 

Describe Vour Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

16. Cash
EXamp/es: l\/|oney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

l:l No
- Yes ................................................................................................................

Cash $5.00

 

17. Deposits of money
Examp/es.' Checking, savings, or other financial accounts; certificates ofdeposit; shares in credit unions, brokerage houses, and other similar
institutions if you have multiple accounts with the same institution, list each.

. No
l:| Yes ........................ institution name:

18. Bonds, mutual funds, or publicly traded stocks
EXamp/es.' Bor\d funds, investment accounts With brokerage firms, money market accounts

-No

l:| Yes __________________ institution or issuer name:

19. Non-pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

m No
- Yes. Give specific information about them ...................
Name of entity; % of ownership:
Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 Hubert Wiggs Case number (ifknown) 18-21473

Wiggs Enterprises LLC (owns 1329-1331 Albany
Avenue Hartford CT) 100 % $0.00

 

978 Albany Avenue LLC (owned 978-982 Albany
Avenue Hartford CT - foreclosed August 2018) 100 °/° $0'00

 

999 Albany Avenue LLC (entity owns a vacant lot

in Hartford CT with no building on it, with blight

fees owed and taxes owed to the City of

Hartford in the amount of $14,998.97) 50 % $0.00

 

 

20.

21,

22.

23.

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks cashiers’ checks promissory notes and money orders
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

-No

ij Yes. Give specific information about them
issuer name:

Retirement or pension accounts
Examp/es: interests in |RA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans

-No

i:i Yes. List each account separately
Type of account: institution name:

Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with landlords prepaid rent, public utilities (electric, gas water). telecommunications companies or others

-No

i:i Yes ,,,,,,,,,,,,,,,,,,,,, institution name or individuai:

Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
|:i No

- Yes ____________ issuer name and descriptionl

Prudentiai Annuities Service
Not property of the estate pursuant to 11 USC Sec 541(c)(2) and CGS
52-321(a). $0.00

 

 

24.

25.

26.

27.

interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

l No
|`_'] Yes _____________ institution name and description Separateiy file the records of any interests.11 U.S.C. § 521(c):

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
l No

i:i Yes Give specific information about them...

Patents, copyrights trademarks trade secrets and other intellectual property
Examples: |nternet domain names websites proceeds from royalties and licensing agreements

- No
i:i Yes. Give specific information about them...

Licenses, franchises and other general intangibles
Examp/es: Bui|ding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

l No
l:] Yes. Give specific information about them...

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 1 Hubert Wiggs Case number (ifknown) 18-21473

claims or exemptions

28. Tax refunds owed to you
- No

i:l Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examp/es: Past due or lump sum alimony, spousal support, child support, maintenance divorce settlementl property settlement

- No
l:i Yes. Give specific information ......

30. Other amounts someone owes you
Examp/es.' Unpaid wages disability insurance payments disability benefits sick pay, vacation pay. workers’ compensation, Sociai Security
benefits unpaid loans you made to someone else

- No
El Yes Give specific information..

31. lnterests in insurance policies
Examp/es.' Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renter's insurance

l:iNo

- Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

Prudentiai Appreciable Life insurance Daughters $19,784.37

 

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

- No
l___i Yes. Give specific information..

33. C|aims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examp/es: Accidents, employment disputes insurance claims or rights to sue

- No
i:i Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No

i:i Yes Describe each claim .........

35. Any financial assets you did not already list
- No
[:] Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... $19'789'37

 

 

 

m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
- No. Go to Part 6.

L__l Yes. Go to line 38.

Describe Any Farm- and Commercial Fishing~Related Property You Own or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
- No. Go to Part 7.
Officia| Form 106A/B Schedule A/B: Property page 5

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Debt0r1 Hubert Wiggs Case number (i/known) 18-21473

l:] Yes. Go to line 47.

Describe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examp/es: Season tickets country club membership

- No
i:i Yes Give specific information .........

 

 

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here .................................... $0.00
List the Tota|s of Each Part of this Form

55. Part1: Total real estate, line 2 ...................................................................................................................... $265,000.00
56. Part 2: Total vehicles, line 5 $362.00

57. Part 3: Total personal and household items line 15 $1,500_00

58, Part 4: Total financial assets line 36 $19,789.37

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $21,651.37 CODV personal Property total $21,651.37
63. Total of all property on Schedule A/B. Add line 55 + line 62 $286,651.37
Official Form 106A/B Schedule A/B; Property page 6

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Fil| in this information to identify your case:

Debefi Hubert Wig_gs

First Name Middle Name l_ast Name

 

Debtor 2
(Spouse if, filing) Firsl Name Middle Name Last Name

 

United States Bankruptcy Court for the: D|STR|CT OF CONNECT|CUT

 

Case number 18-21473

nrknown) l Check if this is an
amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/16

 

Be as complete and accurate as possible iftwo married people are filing together, both are equally responsible for supplying correct information Using
the property you listed on Schedule A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exempt if more space is
needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary On the top of any additional pages write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Aiternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing with you.
- You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
|:i You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
51 P|easant Va|ley Road South $265 000_00 - $75,000_00 Conn. Gen. Stat. § 52-352b(t)
Windsor, CT 06074 Hartford County -_-_- ---__
Line from Schedule A/B: 1.1 m 100% of fair market value, up to

any applicable statutory limit

 

1993 Toyota Camry 200000 miles $362_00 . $362_00 Conn. Gen. Stat. § 52-352b(j)
Line from Schedule A/B: 3.1 ---__ ~_--_
m 100% of fair market value, up to
any applicable statutory limit

 

Various household goods and $1 000_00 - $1,000_00 Conn. Gen. Stat. § 52-352b(a)
furnishings -__’_- ____-____
Line from Schedule A/B: 6.1 m 100% of fair market value, up to

any applicable statutory limit

 

older TV and radio $200_00 - $200'00 Conn. Gen. Stat. § 52-352b(a)
Line from Schedu/e A/B: 7.1 ____'-__ _~____-__'*
m 100% of fair market value, up to
any applicable statutory limit

 

Various clothing and personal $250_00 - $250_00 Conn. Gen. Stat. § 52-352b(a)
possessions ___-__ __-__-_
Line from Schedu/e A/B: 11.1 m 100% of fair market value, up to

any applicable statutory limit

 

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of 2
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Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption

Page 10 of 10

Specific laws that allow exemption

 

 

 

 

 

 

 

Schedule A/B
Wedding ring and ring $50 00 - $50_00 Conn. Gen. Stat. § 52-352b(k)
Line from Schedule A/B: 12.1 '
m 100% of fair market value, up to
any applicable statutory limit
Cash Conn. Gen. Stat. § 52-352b(r)
. 5.00
Line from Schedule A/B: 16.1 $5 00 - $
m 100% of fair market value, up to
any applicable statutory limit
Wiggs Enterprises LLC (owns $0_00 m Conn. Gen. Stat. § 52-352b(r)
1329-1331 Albany Avenue Hartford
CT) l 100% of fair market value, up to
100 % ownership any applicable statutory limit
Line from Schedule A/B: 19.1
978 Albany Avenue LLC (owned $0_00 m Conn. Gen. Stat. § 52-352b(r)
7 - A H _
fgorae:|£¢;>zseAc|ib::;us\;eZ%l:eB) artford CT - 100% of fair market value, up to
100 % Ownership any applicable statutory limit
Line from Schedule A/B: 19.2
999 Albany Avenue LLC (entity owns 0_00 Conn. Gen. Stat. § 52-352b(r)
$ iIl
a vacant lot in Hartford CT with no
building on it, with blight fees owed - 100% Of_fair market ValU§, l_JlJ 10
and taxes owed to the City Of any applicable statutory limit
Hartford in the amount of $14,998.97)
50 % ownership
Line from Schedule A/B: 19.3
Prudentiai Annuities Service $0_00 m Conn. Gen. Stat. § 52-352b(r)
tN(:t1erl;|:3egy o;¢:ri`? ()B(S'Zt)ate g%r;;am - 100°/ f f ' k f l f
o ec c an o o air mar e va ue, up o
52_321(3)_ any applicable statutory limit
Line from Schedule A/B: 23.1
Prudentiai Appreciable Life $19 784 37 - $4 000 00 Conn. Gen. Stat. §§ 38a-453,
insurance _--1-'_ ’ ' 383-454
Beneficiary: Daughters ij 100% of fair market value, up to
Line from Schedule A/B: 31 .1 any applicable statutory limit
Prudentiai Appreciable Life Conn. Gen. Stat. § 52-352b(r)
$19,784.37 l $995.00
insurance _”__~
Beneficiary: Daughters ij

Line from Schedule A/B: 31 .‘l

100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

L__l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l No
ij No
l:l Yes

Official Form 106C
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Schedule C: The Property You Claim as Exempt

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Best Case Bankruptcy

